     Case 4:16-cv-02555 Document 50 Filed on 11/28/17 in TXSD Page 1 of 1
                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                           November 28, 2017
                IN THE UNITED STATES DISTRICT COURT
                                                                           David J. Bradley, Clerk
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

SIGMA DEVELOPMENT CORP.,                  §
    Plaintiff,                            §
                                          §
v.                                        §         CIVIL ACTION NO. H-16-2555
                                          §
TGP SECURITIES, INC., et al.,             §
     Defendants.                          §

                                     ORDER

      Pursuant to the parties’ Statement Regarding Dismissal [Doc. # 49], it is hereby

      ORDERED that the deadline in the Conditional Dismissal Order [Doc. # 48]

for either party to seek reinstatement is extended to January 9, 2018.

      SIGNED at Houston, Texas, this 28th day of November, 2017.




                                                NAN Y F. ATLAS
                                       SENIOR UNI   STATES DISTRICT JUDGE




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